Case 6:22-cv-01271-PGB-EJK Document 17 Filed 09/19/22 Page 1 of 8 PageID 54




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

SYDNEY RODRIGUEZ,

                         Plaintiff,

v.                                                     Case No: 6:22-cv-1271-PGB-EJK

DOVECOTE, LLC,

                         Defendant.

                                      SCHEDULING ORDER

         Pursuant to Federal Rule of Civil Procedure 16, the Court finds it necessary to

implement a schedule tailored to meet the particular circumstances of this case which

is based on the Fair Labor Standards Act (FLSA). Therefore, consistent with the just,

speedy, and inexpensive administration of justice (Fed. R. Civ. P. 1), it is:

         ORDERED that the provisions of Rule 26(a)(1) and Local Rule 3.02

concerning the initial disclosures and filing of a case management report are hereby

waived in this case. Instead, the parties shall comply with the following schedules:

         1.        On or Before October 10, 2022, the parties shall serve upon each other

(but not file) copies of the following:

     Plaintiff 1         All documents in Plaintiff’s possession, custody or control that
                         pertain to the unpaid wages claimed in the Complaint.




1
 If there is more than one plaintiff or defendant, the singular reference to plaintiff or
defendant shall include plural.


                                               1
Case 6:22-cv-01271-PGB-EJK Document 17 Filed 09/19/22 Page 2 of 8 PageID 55




    Defendant        All time sheets and payroll records in Defendant’s possession,
                     custody or control that pertain to work performed by Plaintiff
                     during the time period for which Plaintiff claims unpaid wages.

       2.     On October 31, 2022, and no earlier, Plaintiff shall answer the Court’s

Interrogatories (attached to this Order) under oath or penalty of perjury, serve a copy

on Defendant, and file same with the Court. On or before the forty-fifth day thereafter,

Plaintiff shall provide Defendant with a copy of any expert report upon which Plaintiff

intends to rely, consistent with the provisions of Federal Rule of Civil Procedure

26(a)(2).

       3.     In collective actions, an exchange of documents as referenced in

Paragraph 1 shall occur with respect to opt-in Plaintiffs who join the action prior to

the dissemination of a court-approved opt-in notice. This exchange of documents shall

occur on or before the twenty-first day after the date an opt-in Plaintiff files his or her

consent to opt-in with the Court. Each opt-in Plaintiff that appears prior to the

dissemination of a court-approved opt-in notice shall file and serve his or her respective

answers to the Court’s Interrogatories on or before the forty-second day after the date

each opt-in Plaintiff files his or her consent to opt-in with the Court.

       4.     After Plaintiff serves answers to the Court’s Interrogatories, and no later

than November 28, 2022, counsel for Plaintiff and Defendant shall meet and confer

in person in a good faith effort to settle all pending issues, including attorneys’ fees and

costs. 2 The parties, including a representative of each corporate party with full


2
 In the case of an individual party who is not represented by counsel, the individual
shall comply with the provisions of this Order.


                                             2
Case 6:22-cv-01271-PGB-EJK Document 17 Filed 09/19/22 Page 3 of 8 PageID 56




settlement authority, shall be available by telephone during the conference to consider

and approve any settlement negotiated by counsel. Counsel present at the settlement

conference shall have full authority to settle and shall set aside sufficient time for a

thorough, detailed, and meaningful conference that is calculated to fully resolve the

case by agreement.

       5.     After the settlement conference, but no later than December 19, 2022,

counsel shall jointly file a “Report Regarding Settlement" that notifies the Court

whether: 1) the parties have settled the case; 2) the parties wish to engage in a formal

mediation conference before a specific mediator on or before a specific date; 3) either

party requests a settlement conference before the United States Magistrate Judge or 4)

the parties have exhausted all settlement efforts and will immediately, but no later than

December 30, 2022, file a Case Management Report signed by counsel for all parties. 3

Additionally, in the event that the parties are unable to settle the case in the time

provided above but wish to continue settlement discussions for a specific period of

time, the parties shall file a motion requesting an extension of time to file the settlement

report. The motion must state good cause for the extension of time.

       6.     If the parties settle the case in the time provided above, then they shall

file a joint motion to approve the settlement agreement no later than thirty days after

filing the Report Regarding Settlement.



3
     Case    Management        Report    forms      are   available      online    at
http://www.flmd.uscourts.gov, then select Judicial Information, District Judges, and,
under the appropriate judge’s name, Case & Trial Management Forms.


                                             3
Case 6:22-cv-01271-PGB-EJK Document 17 Filed 09/19/22 Page 4 of 8 PageID 57




      7.       The parties may consent to the conduct of all further proceedings in this

case by the United States Magistrate Judge (consent form attached). Absent consent,

the United States Magistrate Judge shall prepare a report and recommendation as to

whether any settlement is a “fair and reasonable resolution of a bona fide dispute” over

FLSA issues. See Lynn’s Food Stores, 679 F.2d at 1354–55.

      8.       Until the parties file the Case Management Report, all discovery in this

case is STAYED, except as provided in this Order.

      9.       In the event that no settlement is reached pursuant to these procedures,

and this Court later grants a motion permitting notice to be sent to similarly situated

individuals advising them of their right to opt-in to this action, the limitations period

for any person receiving notice shall be tolled during the period from the date of this

Order until the parties file a Case Management Report lifting the stay on these

proceedings.

      10.      Should the parties settle the dispute at any later time, they shall

immediately advise the Court as required by Local Rule 3.09(a) and promptly submit

a joint motion to approve the settlement.

      11.      If a settlement is reached and the parties wish to include a broad general

release, a confidentiality provision, or a non-disparagement provision, the parties’ joint

motion to approve the settlement agreement must address how the inclusion of these

provisions affects the fairness and reasonableness of the settlement. See, e.g., Pariente

v. CLC Resorts and Devs., Inc., Case No. 6:14-cv-615-Orl-37TBS, 2014 WL 6389756, at

*5 (M.D. Fla. Nov. 24, 2014) (stating confidentiality provisions are generally rejected


                                            4
Case 6:22-cv-01271-PGB-EJK Document 17 Filed 09/19/22 Page 5 of 8 PageID 58




in FLSA settlement agreements and citing authorities); Weldon v. Backwoods Steakhouse,

Inc., Case No. 6:14-cv-79-Orl-37TBS, 2014 WL 4385593, at *4 (M.D. Fla. Sept. 4,

2014) (noting non-disparagement clauses are generally rejected in FLSA settlement

agreements and citing authority); Bright v. Mental Health Res. Ctr., Inc., Case No. 3:10-

cv-427-J-37TEM, 2012 WL 868804, at *4 (M.D. Fla. Mar. 14, 2012) (finding

“[p]ervasive, overly broad releases have no place in settlements of most FLSA

claims”). Failure to address these provisions in the joint motion for approval will

result in the motion being denied.

      12.    Due to the volume of cases based on the FLSA, the Court expects strict

adherence to these deadlines. Exceptions will be granted only for compelling reasons.

Failure to comply may result in the imposition of sanctions, including but not limited

to the dismissal of the case and the striking of pleadings.

      13.    Either party, for good cause shown, may move to alter this schedule

should the circumstances so warrant.

      DONE and ORDERED in Orlando, Florida on September 19, 2022.




                                            5
Case 6:22-cv-01271-PGB-EJK Document 17 Filed 09/19/22 Page 6 of 8 PageID 59




1.    During what period of time were you employed by the Defendant?

2.    Who was your immediate supervisor?

3.    Did you have a regularly scheduled work period? If so, specify.

4.    What was your title or position? Briefly describe your job duties.

5.    What was your regular rate of pay?

6.    What is the nature of your claim (check all that apply)?

      _____Off the clock work (Defendant failed to record, or prohibited you from
           recording, all of your working time;

      _____Misclassification (Defendant mistakenly classified you as exempt from
           overtime);

     _____Miscalculation (Defendant failed to correctly calculate your
compensation);

      _____Other (Please describe):
           ___________________________________________________________

            ___________________________________________________________



7.    Provide an accounting of your claim, including:

      (a)   dates

      (b)   regular hours worked

      (c)   over-time hours worked

      (d)   pay received versus pay claimed

      (e)   total amount claimed


8.    If you have brought this case as a collective action:



                                           6
Case 6:22-cv-01271-PGB-EJK Document 17 Filed 09/19/22 Page 7 of 8 PageID 60




        (a)     Describe the class of employees you seek to include in this action.
        (b)     Has an opt-in notice been filed for every potential opt-in Plaintiff who
has                   identified himself or herself as a person who wishes to join this
action?

9.    Please specify all attorney's fees and costs incurred to date. With respect to
      attorney's fees, please provide the hourly rate(s) sought and the number of
hours expended by each person who has billed time to this case.

10. When did you (or your attorney) first complain to your employer about
alleged  violations of the FLSA?

11. Was this complaint written or oral? (If a written complaint, please attach a
copy).

11. Was this complaint written or oral? (If a written complaint, please attach a
copy).

12. What was your employer’s response? (If a written response, please attach a
copy).


                                                 ________________________________
                                                 Sydney Rodriguez



STATE OF FLORIDA
COUNTY OF ___________

          BEFORE ME, the undersigned authority, on this day, personally appeared Plaintiff Name, who being
first duly sworn, deposes and says that he/she has read the foregoing Answers to Interrogatories, knows the
contents of same, and to the best of his/her knowledge and belief, the same are true and correct.

        SWORN TO AND SUBSCRIBED before me on this ____day _______________,2022.

                                                         NOTARY PUBLIC



                                                         ____________________________________
                                                         Signature of Person Taking Acknowledgment
Notary Stamp                                             Print Name:
                                                         Title: Notary Public
                                                         Serial No. (if any):
                                                         Commission Expires:




                                                    7
               Case 6:22-cv-01271-PGB-EJK Document 17 Filed 09/19/22 Page 8 of 8 PageID 61
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                              Middle District of Florida

                  SYDNEY RODRIGUEZ                                         )
                               Plaintiff
                                                                           )
                                  v.                                       )      Civil Action No. 6:22-cv-1271-PGB-EJK
                  DOVECOTE, LLC, et al.                                    )
                             Defendants                                    )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

       You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                        Signatures of parties or attorneys                  Dates




                                                                    Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and order
the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                   District Judge’s signature




                                                                                                     Printed name and title




Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
